Case 3:08-cv-05591-RJB Document 13-14 Filed 02/18/09 Page 1 of 7




                            Exhibit A-13
                            Page 236
Case 3:08-cv-05591-RJB Document 13-14 Filed 02/18/09 Page 2 of 7




                            Exhibit A-13
                            Page 237
Case 3:08-cv-05591-RJB Document 13-14 Filed 02/18/09 Page 3 of 7




                            Exhibit A-13
                            Page 238
Case 3:08-cv-05591-RJB Document 13-14 Filed 02/18/09 Page 4 of 7




                            Exhibit A-13
                            Page 239
Case 3:08-cv-05591-RJB Document 13-14 Filed 02/18/09 Page 5 of 7




                            Exhibit A-13
                            Page 240
Case 3:08-cv-05591-RJB Document 13-14 Filed 02/18/09 Page 6 of 7




                            Exhibit A-13
                            Page 241
Case 3:08-cv-05591-RJB Document 13-14 Filed 02/18/09 Page 7 of 7




                            Exhibit A-13
                            Page 242
